Case 3:23-cv-00711-KM Document 11-4 Filed 05/31/23 Page 1 of 4

EXHIBIT “D”
Case 3:23-cv-00711-KM Document 11-4 Filed 05/31/23 Page 2 of 4

 

 

 

Magisterial District Judge 11-1-04
DOCKET
Docket Number: MJ-11104-NT-0000023-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
V.

Douglas Bruce
Page 1 of 3

CASE INFORMATION

 

 

Judge Assigned: Alexandra Kokura Kravitz Issue Date:
OTN: File Date: 01/09/2019
Arresting Agency: Code Enforcement, Municipal Arrest Date:
Citation No.: R 2456425-6 Incident No.:
Disposition: Guilty Disposition Date: 05/23/2019
County: Luzerne Township: Pittston City
Case Status: Inactive

STATUS INFORMATION
Case Status Status Date Processing Status
Inactive 11/03/2022 Case Balance Due

05/23/2019 Case Balance Due

05/23/2019 Case Disposed/Penalty Imposed

05/23/2019 Awaiting Sentencing

04/10/2019 Awaiting Summary Trial

04/10/2019 Awaiting Plea

01/09/2019 Awaiting Plea

CALENDAR EVENTS
Case Calendar Schedule Schedule
Event Type Start Date Start Time Room Judge Name Status
Summary Trial 05/23/2019 4:30 pm Alexandra Kokura Kravitz Scheduled
DEFENDANT INFORMATION
Name: Bruce, Douglas Sex:
Date of Birth: Race:
Address(es):
Home
Colorado Springs, CO 80936
CASE PARTICIPANTS
Participant Type Participant Name
Defendant Bruce, Douglas
Arresting Officer Smith, Harry
/ CHARGES
# Charge Grade Description Offense Dt. Disposition
1 LO§ 110 §§ 1 Ss Demolition 01/08/2019 Guilty

MDJS 1200 Printed: 05/08/2023 1:49 pm

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Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)

may be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
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Magisterial District Judge 11-1-04
DOCKET

Commonwealth of Pennsylvania
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Douglas Bruce

Docket Number: MJ-11104-NT-0000023-2019
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DISPOSITION / SENTENCING DETAILS

Case Disposition Disposition Date Was Defendant Present?
Guilty 05/23/2019 No

Offense Seq./Description Offense Disposition

1 Demolition Guilty

ATTORNEY INFORMATION
Private
Name: William Jennings Watt Ill, Esq.
Representing: Bruce, Douglas
Counsel Status: Active
Supreme Court No.: 206831
Phone No.: 570-654-4643
Address: Saporito Falcone & Watt
490 N Main St Ste 202
Pittston, PA 18640-2100
DOCKET ENTRY INFORMATION
Filed Date Entry Filer Applies To
05/23/2019 Order Imposing Sentence Printed Magisterial District Court 11-1-04 Douglas Bruce, Defendant
05/23/2019 Guilty sss—s Alexandra Kokura Kravitz -=~=—=—=~S«~ las Bruce,Defendant =
04/22/2019  Cerlified Summary Trial Notice Accepted ‘Magisterial District Court 11-1-04 Douglas Bruce, Defendant ==
04/10/2019  Cerlified Summary Trial Notice Issued ~—-—~«=*Magisterial District Court 11-1-04 _DouglasBruce,Defendant
01/17/2019 ” Certified : Summons Accepted i M lagisterial District Court 11-1-04 “Douglas Bruce, Defendant — oo
01/09/2019 ~~ Summons Issued _ OO Magisterial District Court 11-1-04 “Douglas Bruce, Defendant OO
01/09/2019 ~ First Class Summons Issued Co Magisterial District Court 11-1-04 “Douglas Bruce, Defendant oO
01/09/2019 Certified Summons issued = sd Magisterial District Court 11-1-04 Douglas Bruce,Defendant =
01/09/2019 Non-Traffic Citation Filed SSS Magisterial Distict Gout 114-04 =SsSst<“Cs*é‘“‘ié‘“‘*‘“‘“‘“<=C;~C*S*;*™”
PAYMENT PLAN SUMMARY

Payment Plan No, Payment Plan Freq. Next Due Date Active Next Due Amt. Overdue Amt.
41104-2019-P0001545 Monthly 06/24/2019 Yes $100.00 $4,700.00
Responsible Participant
Bruce, Douglas

Payment Plan History: Payment Dt. Applied Dt. Transaction Type Payor Participant Role Amount
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Case 3:23-cv-00711-KM Document 11-4 Filed 05/31/23 Page 4 of 4

 

 

Magisterial District Judge 11-1-04

DOCKET
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Non-Traffic Docket

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Douglas Bruce

 

 

 

 

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CASE FINANCIAL INFORMATION
Case Balance: $1,091.25 Next Payment Amt:
Last Payment Amt: Next Payment Due Date:
Non-Monetary

Assessment Amt Adjustment Amt Payment Amt Payment Amt Balance
Local Ordinance $1,000.00 $0.00 $0.00 $0.00 $1,000.00
ATJ $6.00 $0.00 $0.00 $0.00 $6.00
CJES $2.50 $0.00 $0.00 $0.00 $2.50
Commonweaith Cost - HB627 (Act 167 of 1992) $9.00 $0.00 $0.00 $0.00 $9.00
County Court Cost (Act 204 of 1976) $33.00 $0.00 $0.00 $0.00 $33.00
JCPS $21.25 $0.00 $0.00 $0.00 $21.25
Judicial Computer Project $8.00 $0.00 $0.00 $0.00 $8.00
OAG - JCP $2.50 $0.00 $0.00 $0.00 $2.50
State Court Costs (Act 204 of 1976) $9.00 $0.00 $0.00 $0.00 $9.00
MDJS 1200 Page 3 of 3 Printed: 05/08/2023 1:49 pm

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